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                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
GARY MARGERUM                            :
15 Tea Rose Ln.                          :
Levittown, PA 19054                      :    CIVIL ACTION
                                         :
                Plaintiff,               :    No. ______________
                                         :
        v.                               :
                                         :
BROWN’S BROOKLAWN, INC.                  :
d/b/a SHOPRITE OF FAIRLESS HILLS         :    JURY TRIAL DEMANDED
547 Oxford Valley Rd.                    :
Fairless Hills, PA 19030                 :
                                         :
                Defendant.               :
____________________________________:

                                  CIVIL ACTION COMPLAINT

        Plaintiff, by and through his undersigned counsel, hereby avers as follows:

                                          INTRODUCTION

        1.       This action has been initiated by Gary Margerum (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) against Brown’s Brooklawn, Inc. d/b/a Shoprite of

Fairless Hills (hereinafter referred to as “Defendant”) for violations of the Americans with

Disabilities Act ("ADA" -42 USC §§ 12101 et. seq.) and the Pennsylvania Human Relations Act

(“PHRA”).1 As a direct consequence of Defendant’s unlawful actions, Plaintiff seeks damages as

set forth herein.




1
  Plaintiff will move to amend his instant lawsuit to include claims under the PHRA once his administrative
remedies are fully exhausted with the Pennsylvania Human Relations Commission. Any claims under the PHRA
though would mirror the instant ADA claims identically.
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                                   JURISDICTION AND VENUE

        2.       This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s

claims because this civil action arises under laws of the United States.

        3.       This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district, and in addition, Defendant is deemed to reside where it is subject to

personal jurisdiction, rendering Defendant a resident of the Eastern District of Pennsylvania.

        5.       Plaintiff is proceeding herein under the ADA and has properly exhausted his

administrative remedies with respect to such claims by timely filing a Charge of Discrimination

with the Equal Employment Opportunity Commission (“EEOC”) and by filing the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the

EEOC.

                                               PARTIES

         6.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

         7.      Plaintiff is an adult individual, with an address as set forth in the caption.




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           8.      Defendant is a corporation that owns and operates several grocery stores locations

doing business as “Shoprite,” including the store at which Plaintiff worked: “Shoprite of Fairless

Hills.”

          9.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                           FACTUAL BACKGROUND

           10.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

           11.     Plaintiff is 63 years old.

           12.     Plaintiff was hired by Defendant on or about August 19, 2019.

           13.     At all times during his employment with Defendant, Plaintiff worked as overnight

stock clerk (as well as performing other duties when requested).

           14.     During his short tenure with Defendant, Plaintiff was an extremely hardworking

and dedicated employee who was not subject to a history of progressive discipline.

           15.     Plaintiff suffers from a history of medical issues. For example, but not intending

to be an exhaustive list, Plaintiff suffers from diabetes, hypertension, hyperlipdemia, and other

medical issues related to his heart, including but not limited to coronary artery disease.

           16.     In fact, years before his employment with Defendant, Plaintiff underwent surgery

on his heart and had an artery stent put in.

           17.     Despite his aforesaid health conditions, Plaintiff was still able to perform the

duties of his job well with Defendant.




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         18.      However, on or about June 18, 2020 after Plaintiff had completed his shift, he

began to have severe breathing problems and as a result went to the emergency department at a

local hospital.

         19.      Plaintiff was admitted to the hospital on or about June 18, 2020 for issues related

to his heart. For example, Plaintiff was primarily diagnosed with congestive heart failure.

Plaintiff’s secondary diagnosis was “[m]ultiple pulmonary nodules,” “coronary artery disease”

and “severe aortic valve stenosis.”

         20.      On or about June 18, 2020, Plaintiff called Defendant and informed a supervisor

that he was admitted to the hospital, would not be reporting to work that night, and that he would

call back with more information.

         21.      Later that same day, Plaintiff received a call from a woman in Defendant’s

Human Resources department (name unknown).

         22.      During his call with Human Resources on or about June 18, 2020, Plaintiff

informed this person that he was admitted to the hospital due to his heart condition. In response,

Defendant’s Human Resources department informed Plaintiff that if he could not return to work

in two weeks, than his employment with Defendant would be terminated.

         23.      While still in the hospital, the same person from Defendant’s Human Resources

department called Plaintiff again and reiterated Defendant’s two-week policy (discussed supra)

and stated that if he did not return to work within two weeks, he would be terminated. Plaintiff

explained that he would not be able to return to work within the mandatory time frame (of two

weeks) given by Defendant’s Human Resources department and apprised this individual that he

would likely need to undergo open heart surgery.




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             24.    As a result of his aforesaid health conditions, Plaintiff was transferred to another

     local hospital and eventually scheduled to undergo open heart surgery on June 25, 2020.

             25.    Because Plaintiff required more than two weeks of medical leave to care for and

     treat for his aforesaid health conditions, he was terminated from his employment with Defendant.

             26.    Plaintiff could have resumed working full duty as of early September 2020 (if

     given an approximately 3-month medical leave).

             27.    However, Defendant made no effort to accommodate Plaintiff or to engage in an

     interactive dialogue with him.

             28.    Instead, Defendant terminated Plaintiff per its 2-week termination policy (as

     stated via telephone to him while hospitalized – discussed supra).

             29.    Plaintiff’s position was very redundant, easy to hold, and could have easily been

     kept open; but instead, Defendant discriminatorily terminated him, retaliated against him and

     failed to accommodate him.

                                        First Cause of Action
               Violations of the Americans with Disabilities Act, as amended ("ADA")
([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation; [3] Failure to Accommodate)

             30.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

     full.

             31.    Plaintiff suffered from qualifying health conditions under the ADA (as amended),

     which (at times) affected his ability to perform some daily life activities (as discussed supra).

             32.    Plaintiff requested a reasonable accommodation, in the form of time off from

     work.

             33.    Plaintiff was terminated from his employment (1) shortly after apprising

     Defendant of his disabilities; (2) while he was still on a medical leave of absence; (3) for reasons




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directly related to his need for a reasonable medical accommodation; and (4) pursuant to

Defendant’s 2-week termination policy (discussed supra), which in and of itself is a violation of

the ADA.

        34.    Plaintiff was terminated from Defendant because of: (1) his known and/or

perceived disabilities; (2) his record of impairment; (3) his requested accommodation, which

constitutes unlawful retaliation; and/or (4) Defendant’s refusal to engage in the interactive

process and accommodate him.

        35.    These actions as aforesaid constitute violations of the ADA, as amended.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendant’s illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

       B.      Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant’s for its

willful, deliberate, malicious and outrageous conduct and to deter Defendant or other employers

from engaging in such misconduct in the future;

       C.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress / pain and

suffering);

       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.




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                                           Respectfully submitted,

                                           KARPF, KARPF & CERUTTI, P.C.

                                    By:
                                           Ari R. Karpf, Esq.
                                           3331 Street Road
                                           Two Greenwood Square, Suite 128
                                           Bensalem, PA 19020
                                           (215) 639-0801
Dated: April 13, 2021




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            QLNPLOMON
                                Case 2:21-cv-01723-RBS
                                                   UNITEDDocument   1 Filed
                                                         STATES DISTRICT    04/13/21 Page 9 of 10
                                                                         COURT
                                                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                             DESIGNATION FORM
                       (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________

                       RQT=lñÑçêÇ=s~ääÉó=oç~ÇI=c~áêäÉëë=eáääëI=m^=NVMPM
Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                        Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                           Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                          Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case                is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

              QLNPLOMON
DATE: __________________________________                        __________________________________________                               ARK2484 / 91538
                                                                                                                                 ___________________________________
                                                                            Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                         B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                          1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                  2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                             3.    Assault, Defamation
       4.     Antitrust                                                                             4.    Marine Personal Injury
       5.     Patent                                                                                5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                            6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                          7.    Products Liability
       8.     Habeas Corpus                                                                         8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                               9.    All other Diversity Cases
       10.    Social Security Review Cases                                                                (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                             ARBITRATION CERTIFICATION
                                                     (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


                    QLNPLOMON
DATE: __________________________________                        _____________________________________ _____                            ARK2484 / 91538
                                                                                                                                ___________________________________
                                                                            Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS

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                                                                                                              c^foibpp=efiip
    (b) County of Residence of First Listed Plaintiff                  _ìÅâë                                  County of Residence of First Listed Defendant _ìÅâë
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                         (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                             of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY           ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                  ❒ 365 Personal Injury -           of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability     ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability                ❒ 367 Health Care/                                                                                    ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                               ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’              Product Liability                                             ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability                ❒ 368 Asbestos Personal                                             ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                       New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                     ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                       LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle             ❒ 370 Other Fraud           ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle             ❒ 371 Truth in Lending              Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability         ❒ 380 Other Personal        ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                  Property Damage               Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                    ❒ 385 Property Damage       ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -               Product Liability      ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS         ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights          Habeas Corpus:            ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                    ❒ 463 Alien Detainee               Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment                ❒ 510 Motions to Vacate                                             ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                        Sentence                                                             26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations            ❒ 530 General                                                                                         ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒
                                     u    445 Amer. w/Disabilities -    ❒ 535 Death Penalty               IMMIGRATION                                                                State Statutes
                                              Employment                  Other:                    ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other      ❒ 465 Other Immigration
                                              Other                     ❒ 550 Civil Rights                Actions
                                     ❒    448 Education                 ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                       ^a^=EQOrp`NONMNF
VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION                                                DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                               DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
            QLNPLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                       APPLYING IFP                                   JUDGE                               MAG. JUDGE

                  Print                                 Save As...                                                                                                                   Reset
